Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 1 of 17 PageID
                                   #: 7053
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 2 of 17 PageID
                                   #: 7054
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 3 of 17 PageID
                                   #: 7055
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 4 of 17 PageID
                                   #: 7056
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 5 of 17 PageID
                                   #: 7057
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 6 of 17 PageID
                                   #: 7058
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 7 of 17 PageID
                                   #: 7059
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 8 of 17 PageID
                                   #: 7060
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 9 of 17 PageID
                                   #: 7061
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 10 of 17 PageID
                                    #: 7062
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 11 of 17 PageID
                                    #: 7063
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 12 of 17 PageID
                                    #: 7064
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 13 of 17 PageID
                                    #: 7065
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 14 of 17 PageID
                                    #: 7066
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 15 of 17 PageID
                                    #: 7067
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 16 of 17 PageID
                                    #: 7068
Case 1:25-cv-00039-JJM-PAS   Document 110-1   Filed 02/12/25   Page 17 of 17 PageID
                                    #: 7069
